                                                   Case 3:07-cv-05944-JST Document 4646 Filed 05/10/16 Page 1 of 1



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                                             6                                 UNITED STATES DISTRICT COURT
                                             7                              NORTHERN DISTRICT OF CALIFORNIA
                                             8                                      SAN FRANCISCO DIVISION
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                                                 IN RE: CATHODE RAY TUBE (CRT)                           Master File No. 3:07-cv-05944-JT
                                            10   ANTITRUST LITIGATION                                    MDL No. 1917
R OBINS K APLAN LLP




                                            11                                                           The Honorable Jon S. Tigar
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                                                 This Document Relates to:
                                            12                                                           [PROPOSED] ORDER OF DISMISSAL
                            L OS A NGELES




                                                 Best Buy Co. Inc. et al. v. Technicolor SA, et
                                            13   al., No. 13-cv-05264-JT
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                                            15            The Court having considered the stipulation of the parties, and good cause appearing

                                            16   therefore, orders as follows:

                                            17            1) All claims asserted by Plaintiffs Best Buy Co., Inc., Best Buy Purchasing LLC, Best

                                            18                Buy Enterprise Services, Inc., Best Buy Stores, L.P., and Bestbuy.com, L.L.C. against

                                            19                Defendants Technicolor SA, f/k/a Thomson SA, and Technicolor USA, Inc. f/k/a

                                            20                Thomson Consumer Electronics, Inc. in the underlying action are hereby dismissed

                                            21                without prejudice pursuant to Fed. R. Civ. P. 41(a)(2).

                                            22            2) Each party shall bear its own costs and attorney’s fees.
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                                            23            IT IS SO ORDERED.                                     TES D      TC
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                                                          May 10
                                                 Dated: ____________, 2016              _______________________________________
                                                                                                    UNIT




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                                                                                        The Honorable JonTS.IS S O O R
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                                                                                        UNITED STATES DISTRICT COURT JUDGE
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                                                 Master Case No. 3:07-cv-05944-JT                            ER
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